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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

 JOANNE KATCHER, Derivatively on Behalf Case No.
 of Nominal Defendant ABBVIE INC.,
                                        VERIFIED STOCKHOLDER
                     Plaintiff,         DERIVATIVE COMPLAINT

                v.

 RICHARD A. GONZALEZ, MICHAEL E.
 SEVERINO, ROBERT A. MICHAEL,
 JEFFREY R. STEWART, GLENN F.
 TILTON, ROBERT J. ALPERN, ROXANNE
 S. AUSTIN, WILLIAM H.L. BURNSIDE,
 FREDERICK H. WADDELL, EDWARD J.
 RAPP, EDWARD M. LIDDY, BRETT J.
 HART, MELODY B. MEYER, REBECCA
 B. ROBERTS, and THOMAS C.
 FREYMAN,

                       Defendants,

                and

ABBVIE INC.,

                       Nominal Defendant.


       Plaintiff Joanne Katcher (“Plaintiff”), by and through the undersigned attorneys, brings this

Verified Stockholder Derivative Complaint for the benefit of nominal defendant, AbbVie Inc.

(“AbbVie” or the “Company”), against certain members of its Board of Directors (the “Board”)

and certain of its executive officers seeking to remedy defendants’ breaches of fiduciary duty,

violations of the Securities Exchange Act of 1934 (the “Exchange Act”), contribution and

indemnification, and unjust enrichment.        Plaintiff’s allegations are based upon personal

knowledge, as to Plaintiff and Plaintiff’s own acts, and upon information and belief developed

from the investigation and analysis by Plaintiff’s counsel, including without limitation: (i) review
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and analysis of public filings with the United States Securities and Exchange Commission

(“SEC”); (ii) review and analysis of filings in federal court, including pleadings, in the related

securities fraud class action captioned Nakata, et al. v. AbbVie Inc., et al., No. 1:22-cv-01773 (the

“Securities Class Action”) pending in this District; and (iii) review and analysis of press releases,

news reports, analyst reports, industry reports, investor conference call transcripts and slides, and

other information available in the public domain.

I.     NATURE AND SUMMARY OF THE ACTION

       1.      AbbVie is one of the world’s largest pharmaceutical companies. Its biggest drug,

Humira, is an anti-inflammatory drug used to treat illnesses such as Crohn’s disease, ulcerative

colitis, rheumatoid arthritis (“RA”), and more. Humira accounts for more than one third of

AbbVie’s net revenue, bringing in $20 billion in 2021, making it the world’s best-selling

prescription drug.

       2.      Humira’s patent protection will expire in 2023, exposing it to competition from

biosimilar generics. The expected result is that Humira’s sales are expected to decline drastically

over the next several years.

       3.      With this expectation, AbbVie’s future revenue and earnings hinge on the

Company’s ability to develop new sources of revenue to offset disappearing Humira sales.

       4.      The Company championed a new drug, Rinvoq, as having blockbuster potential for

the treatment of RA and other illnesses. Rinvoq is an anti-inflammatory drug manufactured by

AbbVie that works by inhibiting Janus kinase (“JAK”) enzymes from acting as a pathway for

cytokines, which play a role in inflammation associated with many of RA’s deleterious effects.

       5.      Rinvoq was initially approved in the United States to treat only moderate to severe

RA, but AbbVie was actively pursuing additional treatment indications. In 2020, AbbVie asked




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the U.S. Food and Drug Administration (the “FDA”) to approve Rinvoq for the treatment of several

other diseases, including psoriatic arthritis, ankylosing spondylitis, and atopic dermatitis.

       6.      JAK inhibitors, such as Rinvoq are not without side effects. The FDA required that

other JAK inhibitor drugs, including Xeljanz and Xeljanz XR (collectively, “Xeljanz”),

manufactured by Pfizer Inc. (“Pfizer”), and Olumiant, manufactured by Eli Lilly and Company

(“Eli Lilly”), go through an additional safety trial to evaluate Xeljanz’s risk of certain serious

adverse effects compared with non-JAK inhibitor anti-inflammatory drugs. Beginning in February

2019, the FDA repeatedly warned the public that the Xeljanz safety trial indicated that certain

dosages of Xeljanz were associated with elevated risks of serious heart-related issues, cancer, and

other adverse events.

       7.      Given this backdrop, AbbVie touted Rinvoq as far safer and different than Xeljanz,

despite their pharmacological similarities, and downplayed the FDA’s statements about Xeljanz.

       8.      This was not the case. On June 25, 2021, AbbVie revealed that the FDA would not

complete its review of several of the expanded treatment indications for Rinvoq by the end of June,

as previously announced, due to its ongoing evaluation of safety concerns associated with Xeljanz.

       9.      A few months later, on September 1, 2021, the FDA announced that final results

from the Xeljanz safety trial established an increased risk of serious adverse events, even with low

doses of Xeljanz. As a result, the FDA determined that it would require new and updated warnings

for Xeljanz and Rinvoq because Rinvoq “share[s] similar mechanisms of action with Xeljanz” and

“may have similar risks as seen in the Xeljanz safety trial.” The FDA also indicated that it would

further limit approved indications for Rinvoq as a result of these safety concerns.

       10.     In the wake of this disclosure, AbbVie’s market capitalization plunged by over $15

billion. Further, as a direct result of this unlawful course of conduct, AbbVie is now the subject




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of at least one federal securities class action lawsuit in this District on behalf of investors who

purchased AbbVie stock.

       11.     In addition, these false statements were only made possible as a result of the

Company’s inadequate corporate governance. Stockholders have recognized this problem, as

AbbVie has been sued for such notable legal failures as violating antitrust laws. These concerned

stockholders asked for the Company’s fellow stockholders to vote to separate AbbVie’s role of

CEO and Chairman of the Board, and thereby include AbbVie’s governance. The Board, however,

urged stockholders to reject the proposal. In doing so, the Board made a series of false statements

about its oversight and passed those off as fact in violation of federal securities laws.

       12.     Plaintiff has not made a litigation demand prior to filing this action because such

demand would have been futile based upon the composition of the Board and the actions taken by

the Board. The Board is currently composed of twelve members, half of whom are members of

the Audit Committee that failed in their duties to oversee risk management of the Company and

allowed misleading statements to be disseminated to the public. Additionally, Defendant Richard

A. Gonzalez (“Gonzalez”) is both CEO and Chairman of the Board and named as a defendant in

the Securities Class Action. As a result, more than half the members would be interested in a

demand to investigate their own wrongdoing.

II.    JURISDICTION AND VENUE

       13.     Pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C.

§ 78aa), this Court has jurisdiction over the claims asserted herein for violations of Section 14(a)

and SEC Rule 14a-9 thereunder. This Court has supplemental jurisdiction over the remaining

claims under 28 U.S.C. § 1367. This action is not a collusive one to confer jurisdiction on a court

of the United States which it would not otherwise have.




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        14.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1401 because (i) a

substantial portion of the transactions and wrongs complained of herein occurred in this District;

(ii) the Defendants have received substantial compensation in this district by engaging in numerous

activities that had an effect in this District; (iii) a substantial portion of the transactions and wrongs

complained of herein, including the Defendants’ primary participation in the wrongful acts detailed

herein, and aiding and abetting and conspiracy in violation of fiduciary duties owed to AbbVie,

occurred in this District; and (iv) one or more of the Defendants either resides in or maintains

executive offices in this District.

III.    PARTIES

Plaintiff

        15.     Plaintiff has held shares of AbbVie since at least August 2017, and has continually

owned stock since that date.

Nominal Defendant

        16.     Nominal Defendant AbbVie is a Delaware corporation with principal executive

offices located at 1 North Waukegan Road, North Chicago, Illinois. AbbVie is a global research-

based biopharmaceutical company which develops and markets advanced therapies that address

some of the world’s most complex and serious diseases. AbbVie trades on the New York Stock

Exchange under “ABBV.”

Defendants

        17.     Defendant Gonzalez has been AbbVie’s CEO, Chairman of the Board, and director

since January 2013. Defendant Gonzalez is named as a defendant in the Securities Class Action.

In 2021, AbbVie compensated Defendant Gonzalez a total of $23,912,154 and in 2020, a total of

$24,007,591 as an executive.




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       18.     Defendant Michael E. Severino (“Severino”) has been AbbVie’s Vice Chairman

and President since December 2018. Defendant Severino was also AbbVie’s Chief Scientific

Officer, Executive Vice President, Research and Development from May 2014 to December 2018.

Defendant Severino is also a named defendant in the Securities Class Action. In 2021, AbbVie

compensated Defendant Severino a total of $11,049,920 and in 2020, a total of $13,411,058 as an

executive.

       19.     Defendant Robert A. Michael (“Michael”) has been AbbVie’s Vice Chairman,

Finance and Commercial Operations since December 2021 and Chief Financial Officer since

October 2018. Defendant Michael was also Executive Vice President from October 2018 to

December 2021; Vice President, Controller from March 2017 to October 2018; Vice President,

Treasurer from 2015 to March 2017; Vice President, Controller, and Commercial Operations from

2013 to 2015; and Vice President, Financial Planning and Analysis from 2012 to 2013. Defendant

Michael is named as a defendant in the Securities Class Action. In 2021, AbbVie compensated

Defendant Michael a total of $11,667,666 and in 2020, a total of $13,494,629 as an executive.

       20.     Defendant Jeffrey R. Stewart (“Stewart”) has been AbbVie’s Executive Vice

President, Chief Commercial Officer since March 2021. Defendant Stewart was also Senior Vice

President, U.S. Commercial Operations from 2018 to March 2021; and President, Commercial

Operations from 2013 to 2018. Defendant Stewart is named as a defendant in the Securities Class

Action. In 2021, AbbVie compensated Defendant Stewart a total of $9,013,096 as an executive.

       21.     Defendant Glenn F. Tilton (“Tilton”) has been AbbVie’s Lead Independent

Director and a director since January 2013. Defendant Tilton has been a member of AbbVie’s

Audit Committee since at least March 2020. In 2021, AbbVie compensated Defendant Tilton a

total of $392,055 and in 2020, a total of $394,550 as a director.




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       22.     Defendant Robert J. Alpern (“Alpern”) has been an AbbVie director since January

2013. In 2021, AbbVie compensated Defendant Alpern a total of $370,989 and in 2020, a total of

$377,334 as a director.

       23.     Defendant Roxanne S. Austin (“Austin”) has been an AbbVie director since

January 2013. Defendant Austin was the Chair of AbbVie’s Audit Committee and a member of

that committee from at least March 2020 to at least March 2021. In 2021, AbbVie compensated

Defendant Austin a total of $360,487 and in 2020, a total of $357,851 as a director.

       24.     Defendant William H.L. Burnside (“Burnside”) has been an AbbVie director since

January 2013. Defendant Burnside has been a member of AbbVie’s Audit Committee since at

least March 2020. In 2021, AbbVie compensated Defendant Burnside a total of $340,904 and in

2020, a total of $338,851 as a director.

       25.     Defendant Frederick H. Waddell (“Waddell”) has been an AbbVie director since

November 2012. Defendant Waddell has been a member of AbbVie’s Audit Committee since at

least March 2020. In 2021, AbbVie compensated Defendant Waddell a total of $340,904 and in

2020, a total of $340,170 as a director.

       26.     Defendant Edward J. Rapp (“Rapp”) has been an AbbVie director since January

2013. Defendant Rapp has been a member of AbbVie’s Audit Committee since at least March

2020. In 2021, AbbVie compensated Defendant Rapp a total of $360,904 and in 2020, a total of

$360,172 as a director.

       27.     Defendant Edward M. Liddy (“Liddy”) has been an AbbVie director since January

2013. In 2021, AbbVie compensated Defendant Liddy a total of $318,237 and in 2020, a total of

$327,851 as a director.




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        28.      Defendant Brett J. Hart (“Hart”) has been an AbbVie director since May 2016. In

2021, AbbVie compensated Defendant Hart a total of $354,904 and in 2020, a total of $352,851

as a director.

        29.      Defendant Melody B. Meyer (“Meyer”) has been an AbbVie director since May

2017. Defendant Meyer has been a member of AbbVie’s Audit Committee and has been since at

least March 2020. In 2021, AbbVie compensated Defendant Meyer a total of $340,904 and in

2020, a total of $338,851 as a director.

        30.      Defendant Rebecca B. Roberts (“Roberts”) has been an AbbVie director since May

2018. In 2021, AbbVie compensated Defendant Roberts a total of $334,904 and in 2020, a total

of $332,851 as a director.

        31.      Defendant Thomas C. Freyman (“Freyman”) has been an AbbVie director since

May 2020. Defendant Freyman was also an AbbVie director from November 2012 to January

2013. Defendant Freyman has been Chair of AbbVie’s Audit Committee since at least March

2022. In 2021, AbbVie compensated Defendant Freyman a total of $349,487 and in 2020, a total

of $262,017 as a director.

        32.      Defendants Gonzalez, Severino, Michael, and Stewart are sometimes referred to

hereinafter as the “Officer Defendants.” Defendants Gonzalez, Tilton, Alpern, Austin, Burnside,

Waddell, Rapp, Liddy, Hart, Meyer, Roberts, and Freyman are sometimes referred to hereinafter

as the “Director Defendants.” The Officer Defendants and Director Defendants collectively are

sometimes referred to hereinafter as the “Individual Defendants.” Defendants Freyman, Burnside,

Meyer, Rapp, Tilton, and Waddell are sometimes referred to hereinafter as the “Audit Committee

Defendants.”




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IV.    SUBSTANTIVE ALLEGATIONS

       A.       Background

       33.      AbbVie, a Delaware corporation with principal executive offices in North Chicago,

Illinois, is one of the world’s largest pharmaceutical companies. Its biggest drug, Humira—an

anti-inflammatory drug used to treat illnesses such as Crohn’s disease, ulcerative colitis, RA, and

more—was, in 2021 (aside from COVID-19 vaccines), the world’s best-selling prescription drug,

with net revenues of more than $20 billion in 2021. In 2021, sales of Humira accounted for

approximately 37% of AbbVie’s total net revenue—with AbbVie’s next-best-selling drug,

Imbruvica, accounting for less than 10% of AbbVie’s net revenue.

       34.      While AbbVie has protected Humira’s blockbuster profits for years with a “patent

thicket” of more than 100 patents, certain biosimilar drugs—that is, direct competitors to

Humira—will be permitted to enter the market beginning in 2023 under agreements settling patent

litigation between AbbVie and other pharmaceutical companies.

       35.      Because profits for brand name drugs (like Humira) typically plummet when

biosimilar or generic versions enter the market, AbbVie’s revenue and earnings are expected to

decline significantly when Humira loses complete patent protection. Indeed, during an earnings

call on February 2, 2022, Defendant Gonzalez warned that the Company expected to see “45%

erosion, plus or minus 10%,” in Humira sales following the introduction of biosimilar competitors

in 2023. As such, industry analysts and experts have reported that AbbVie is looking to its other

drugs—including Rinvoq, another type of anti-inflammatory drug—to make up for declining

Humira sales.

       36.      However, Rinvoq currently accounts for only a small portion of AbbVie’s

revenues—approximately $1.7 billion in 2021, or just under 3% of AbbVie’s total net revenue.

Notably, Rinvoq was initially approved in the United States to treat only moderate to severe RA,


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and its revenues were expected to increase substantially if the FDA approved Rinvoq for the

treatment of additional diseases. The FDA’s approval of additional treatment indications for

Rinvoq was and is therefore critical to the Company’s ability to offset lost Humira sales. In 2020,

AbbVie submitted a series of supplemental New Drug Applications seeking the FDA’s approval

of Rinvoq for the treatment of psoriatic arthritis, ankylosing spondylitis, and atopic dermatitis

(collectively, the “sNDAs”).

         37.   As is relevant here, Rinvoq treats disease by inhibiting JAK enzymes. Rinvoq uses

the same mechanism of action as several other JAK inhibitor drugs, including Pfizer’s Xeljanz and

Eli Lilly’s Olumiant.

         38.   When the FDA approved Xeljanz for the treatment of RA in 2012, it required Pfizer

to conduct an additional safety trial (the “ORAL Surveillance Trial”) to evaluate Xeljanz’s risk of

serious heart-related events and cancer when compared with other anti-inflammatory drugs that

were not JAK inhibitors. In February 2019, the FDA alerted the public that, according to interim

data from the ongoing ORAL Surveillance Trial, RA patients taking 10 mg twice daily doses of

Xeljanz were subject to increased risks of blood clots in the lungs, and of death, compared to

patients treated with smaller doses of Xeljanz or with a non-JAK inhibitor drug. Several months

later, in July 2019, the FDA further warned the public that ulcerative colitis patients taking 10 mg

twice daily doses of Xeljanz were also subject to increased risks of blood clots in the lungs and of

death.

         39.   Then, in February 2021, the FDA issued an alert warning that preliminary results

from the now-complete ORAL Surveillance Trial “show an increased risk of serious heart-related

problems and cancer with [Xeljanz] compared to another type of medicine called tumor necrosis

factor (TNF) inhibitors.”




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        B.      The Individual Defendants Caused the Company to Issue Materially False and
                Misleading Statements

        40.     Despite the serious safety concerns regarding Xeljanz and JAK inhibitors, AbbVie

presented Xeljanz’s safety issues as unique to that drug and not indicative of JAK inhibitors in

general.

        41.     On April 30, 2021, the Company held a conference call with analysts and investors

to discuss its financial results for the first quarter of the 2021 fiscal year. Analysts were interested

in what the recent news from the FDA on Xeljanz meant for Rinvoq. Defendant Stewart stated,

“What we have heard is when we do some of our research and our ear to the ground, we clearly

see that oral surveillance is perceived as a Xeljanz issue.”

        42.     During that same call, defendants Gonzalez and Severino also discussed expanding

Rinvoq’s use to additional treatments. In particular, Defendant Gonzalez stated:

        I'm also extremely pleased with our R&D prospects, including the number and
        potential of the opportunities, especially within our late-stage pipeline. We're on
        the cusp of the potential commercial approval of more than a dozen new products
        or indications over the next 2 years, including … expanded indications for Rinvoq
        in psoriatic arthritis, ankylosing spondylitis and atopic dermatitis.

        43.     In particular, Defendant Severino stated:

        Our regulatory submissions are currently under review for Rinvoq in 3 new
        indications in the U.S., ankylosing spondylitis, psoriatic arthritis and atopic
        dermatitis. As we previously announced, the FDA recently extended the review
        period for Rinvoq in psoriatic arthritis and atopic dermatitis, following a request
        for an updated assessment of the benefit-risk profile for Rinvoq in these indications.
        In response to the FDA request, we provided updated data from across Rinvoq
        programs in RA, psoriatic arthritis and atopic dermatitis. Based on the review
        extensions, we now expect approval decisions for psoriatic arthritis in June and for
        atopic dermatitis in July. The regulatory action date for Rinvoq in ankylosing
        spondylitis is unchanged and remains on track for June. We remain confident in the
        benefit-risk profile of Rinvoq across all indications, and we'll work with the FDA
        to bring Rinvoq to market in these new disease areas.

        44.     On May 25, 2021, Defendants Stewart, Severino, and Michael presented on behalf

of AbbVie at the UBS Global Healthcare Virtual Conference. During the conference, Defendant


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Severino implicitly acknowledged the overlap between Xeljanz and Rinvoq, while also claiming

Rinvoq was safer. In particular, he stated:

       With respect to the label, I think it's early to speculate, we don't know what
       XELJANZ labeling will look like and that is obviously a key component of the
       story. But what I would say is, we remain very confident in the data that we've
       generated for RINVOQ. We have a very large data set, more than 10,000 patient
       years of follow-up. We have long-term randomized data, and we know that those
       randomized data, controlled data are the most impactful, with the agency when
       looking at safety questions like the ones that they're examining, we have 3-year data
       in RA. We have 1-year data in psoriatic arthritis. We have large safety databases
       across all of the indications that we are pursuing.

       And those data have not shown a signal with our agent, with RINVOQ, for the
       adverse experiences that are being evaluated with XELJANZ and with others.
       Specifically, we've not seen increased rates of VTE or PE. We've not seen increased
       rates of cardiovascular events or MACE events, and we've not seen increased risk
       for malignancy. And if you look at the track record here, we've been very successful
       in getting our data into the label so they're well understood by prescribing
       physicians.

       And if one looks at the RA launch, we had our data in the label for RA, both our
       efficacy and our safety data. I think they well characterize the benefit risk of the
       molecule in that launch. Performed very well. In fact, it exceeded our expectations,
       so we feel good about the opportunities that are in front of us for psoriatic arthritis,
       for atopic dermatitis and ankylosing spondylitis, which are the indications that are
       under review. And of course, we have more indications that are still in Phase III
       and we feel confident in those as well.

       45.     On June 2, 2021, Defendants Severino and Michael presented on behalf of AbbVie

at the Sanford C. Bernstein Strategic Decisions Virtual Conference. In response to an analyst’s

question, defendant Severino stated that Xeljanz’s issues were unique to that drug and implied that

Rinvoq’s performance was improving due to physicians moving away Xeljanz. In particular, the

following exchange took place:

       [Analyst]: Okay. So the other question is the impact of all this debate on physician
       behavior. Within RA, are we seeing patients -- are you seeing physician gradually
       moving away from XELJANZ? Is there a moving towards RINVOQ away from
       XELJANZ as a result of the heightened safety concern around XELJANZ?

       [Defendant Severino]: Well, in the RA market, what we see is RINVOQ continues
       to perform very strongly. And its trajectory continues along a path that we would


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       expect. So the XELJANZ issue seems to be viewed by the prescribing community
       as specific to XELJANZ. So you see a change in the XELJANZ performance, but
       RINVOQ's performance has continued.

       [Analyst]: Have you gained from the XELJANZ's problems?

       [Defendant Severino]: Well, we've continued to grow and so we're picking up
       patients from a variety of sources. We're picking up patients from many other
       therapies. It’s hard to say what a doc would have prescribed 6 months ago versus
       what they're prescribing today, but we're continuing to gain and our in-play share
       is very strong.

       46.     Defendant Severino also claimed that the Company was moving forward and

expected FDA approval on using Rinvoq for the treatment of atopic dermatitis. In particular, the

following exchange took place:

       [Defendant Severino]: So the PDUFA date for the atopic derm indication, which is
       I assume the indication that you're referring to, had been April and it moved 3
       months so it's now in July. So early in the third quarter. And we feel like we are
       making appropriate progress with the -- our ability to provide answers to the FDA,
       provide them the data that they have requested, and we feel good about the overall
       progress we're making there. And we feel very confident in that overall profile and
       our ability to gain an approval in that indication.

       With respect to an AdCom, I don't think an AdCom is likely at all. And the reason
       for that is that if the FDA were planning an AdCom, they would already be setting
       that in motion. We would absolutely expect them to have reached out to us. We'd
       expect them to be deep in preparation for an AdCom and they're not. So while they
       still have the authority to do that, it seems very unlikely that they will for that simple
       reason. And if you look at their track record here, they have made these decisions
       on their own, based on their own review of the data in this class, pretty consistently.

       If you look at the RINVOQ RA application, that was in review at the time that the
       baricitinib, DVT, PE issue came to light. And there was speculation at that time
       that there would be an AdCom before they could act on the RA application. And
       there was not. The FDA made their decision based on the data that we provided
       them and based on their own review of those data. And the outcome there was a
       good one and the label that we achieved was a good one. And it supported the very
       robust launch in RA that quite frankly exceeded our expectations and I think
       exceeded expectations broadly speaking.

       [Analyst]: Okay. So the other question is, are we at the -- is there still a go, a back-
       and-forth in things like the label language? Is the overall review still progressing
       with the exception of that question of the safety profile of the class? Or is this kind




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       of done and that's the last gating factor? Or is everything delayed and will we start
       somewhere in June? Can I -- can you give us a little bit more color on this?

       [Defendant Severino]: I would say that the review of the file is progressing in a
       way that's very consistent with our expectations. We -- we're asked in April to
       supply some additional data. We supplied those data. We viewed the data as
       supportive of our overall application and very consistent with everything that we've
       said about product safety and efficacy. And I would say that the file is progressing
       as we would have expected.

       [Analyst]: A kind of like label discussion at this point or close enough to closing
       the last gaps in what needs to get done before approval. Is that kind of like the
       overall picture?

       [Defendant Severino]: Yes. I mean we usually don't comment on the specifics of
       exact label discussions until they're finalized. But I would say we’re making the
       progress that we would expect and we believe we're on track for an approval on
       the new PDUFA date.

       47.     At the Goldman Sachs Global Healthcare Virtual Conference held on June 8, 2021,

Defendant Severino again claimed that there were notable differences between Xeljanz and Rinvoq

when it came to both efficacy and safety. In particular, he stated:

       Well, we certainly have seen differences in JAKs with respect to performance and
       with respect to a number of safety issues, if you look across the class. And while
       people talk about the JAK class in aggregate, there are very significant differences
       in specificity for JAK type, and those can drive real differences in performance,
       both from a safety and an efficacy perspective. And we've consistently had very
       strong data in both perspectives.

       Obviously, most of the attention now comes after the results of the XELJANZ oral
       surveillance study and the results that were demonstrated there on MACE and
       malignancy. So failing to clear their safety boundary for those 2 events in a study
       that was a post-marketing requirement, going way back to their original approval.

       What I would say there is we've looked for those events very carefully within our
       program. We have a large database. We have more than 10,000-patient years'
       experience in our clinical trials database that we have examined for these events.
       We adjudicate these events. We have very rigorous methods to try to make sure
       that we are capturing all events that are occurring. And those databases have not
       shown a signal for increased risk. And that's true whether you look compared to
       baseline rates or within the controlled portions of those programs where you have
       long-term control data against Humira, principally, and other agents as well. We've
       not shown evidence of increased risk for MACE, for malignancy, for DVT and PE.
       So we feel confident in the profile that we’ve described.


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        And I think it's challenging to predict how they will come down on labeling across
        each member of the class. But what I would say is we have been successful in
        making sure that our data are reflected in our label, and that's been well
        understood by prescribing physicians. And if you go back, as an analogy, if you
        will, to the RA approval, which occurred right around the time that the DVT and
        PE issue was the focus for baricitinib, we had data in our label that described our
        experience. Those data were well understood by physicians, and the uptake has
        been very robust in that indication. And so I think we’re in a very similar position
        here.

        48.     Each of the above statements in ¶¶40–47 were materially misleading because they

failed to disclose:

                      a. Rinvoq was sufficiently similar to Xeljanz as a JAK inhibitor that the FDA

                         would find the safety concerns from the ORAL Surveillance study also

                         applied to Rinvoq;

                      b. the FDA would require significant safety warnings for Rinvoq in light of

                         the ORAL Surveillance study; and

                      c. the FDA would delay approval of any additional treatment uses of Rinvoq

                         in light of safety concerns.

        C.      The Misleading Proxy Statement

        49.     The Director Defendants breached their fiduciary duties and violated section 14(a)

of the Exchange Act by making false and misleading statements while recommending stockholders

make certain votes. In particular, on March 22, 2021, the Director Defendants caused AbbVie to

file with the SEC its Proxy Statement in connection with the 2021 Annual Meeting of Stockholders

(the “Proxy”). The Proxy solicited stockholder votes on AbbVie’s amended and restated 2013

incentive stock program and on having an independent Chair of the Board.               The Board

recommended voting for the amended and restated 2013 incentive stock program and against

having an independent Chair of the Board.




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       50.     In recommending that stockholders vote in favor of the amended and restated 2013

incentive stock program, the Board claimed that the equity awards “align the interests of our

employees, officers and non-employee directors with those of other stockholders.” In particular,

the Proxy stated:

       The purpose of the Amended Plan is to attract and retain outstanding employees,
       officers, and non-employee directors of AbbVie and its subsidiaries and to motivate
       such individuals by providing opportunities to acquire AbbVie shares of common
       stock or to receive payments based on the value of such shares or on the financial
       performance of AbbVie, or both, on advantageous terms and to further align such
       persons' interests with those of AbbVie's other stockholders.

                                        *      *       *

       Equity incentives align the interests of our employees, officers and nonemployee
       directors with those of other stockholders. AbbVie believes that equity incentives
       motivate recipients to focus on behaviors that, over time, lead to sustained growth
       in stockholder value.

       51.     The Proxy also stated:

       AbbVie does not include certain pay design features that may have the potential to
       encourage excessive risk-taking, such as: over-weighting toward annual incentives,
       highly leveraged payout curves, unreasonable thresholds or dramatic changes in
       payout opportunity at certain performance levels that may encourage inappropriate
       short-term business decisions to meet payout thresholds. In addition, a limit of
       200% of target applies to any awards made under the NEO short-term incentive
       plan.

       AbbVie's long-term incentive program focuses NEOs on longer-term operating
       performance and aligns NEOs with stockholder interests through the use of multi-
       year performance periods and multiple performance measures, including relative
       total stockholder return.

       52.     The statements above in ¶¶50–51 were untrue because the material terms of the

performance goals in the amended and restated 2013 incentive stock program did not encourage

proper risk oversight, nor advance long-term stockholder value. For example, by focusing on total

stockholder return, the amended and restated 2013 incentive stock program incentivizes executives

to mislead the market to inflate the Company’s stock price.



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        53.     Certain stockholders proposed that AbbVie adopt a policy and amend its bylaws as

necessary to require that the Chairman of the Board is an independent director, as opposed to the

CEO. The stockholders explained: “In light of rising material legal, regulatory, financial and

reputational risks, as well as the controversies and legal challenges facing the company we are

concerned that the Board is not providing the necessary oversight of the company's culture,

strategy, and risk management.”

        54.     The Board recommended that stockholders vote against the stockholder proposal

due, at least in part to its claim that

        AbbVie has other robust corporate governance practices designed to protect
        longterm shareholder value. … Other corporate governance practices, which are
        highlighted in our Governance Guidelines (available at www.abbvieinvestor.com)
        and throughout this proxy statement, include a comprehensive board risk
        management oversight process[.]

        55.     Other statements concerning the Company’s corporate governance contained in the

Proxy included: “Our board of directors is committed to strong corporate governance tailored to

meet the needs of AbbVie and its stockholders to enhance long-term stockholder value.”

        56.     The Proxy also explicitly referenced AbbVie’s corporate governance guidelines

and policies located at its website, stating:

        AbbVie’s corporate governance guidelines with the outline of directorship
        qualifications; director independence guidelines; code of business conduct; and
        audit committee, compensation committee, nominations and governance
        committee, and public policy committee charters are all available in the corporate
        governance section of AbbVie’s investor relations website at
        www.abbvieinvestor.com.

        57.     The website explicitly referenced in the Proxy leads stockholders to a “Code of

Business Conduct” (the “Code”). The Code claims that AbbVie “follow[s] industry laws and

regulations”; “maintain[s] high standards in research & development” and “maintain[s]

trustworthy business practices”; and “communicate[s] with the public appropriately.”



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         58.    Specifically, the Code states:

         We maintain trustworthy business practices.

         We comply with all applicable laws that regulate our business.

         We conduct our business in a transparent and ethical manner and comply with all
         applicable laws.

                                          *      *       *

         We communicate with the public appropriately

         It is a privilege to share the pride of our accomplishments with the world. When we
         share information, the public expects us to be consistent and accurate.

         59.    The statements above in ¶¶53–58 were untrue because AbbVie was misleading the

market about Rinvoq, the drug’s similarities to Pfizer’s JAK inhibitor, and the likelihood of FDA

action on Rinvoq.

         60.    On May 5, 2021, AbbVie held its Annual Meeting of Stockholders. As a direct

result of the misleading statements, the Company's stockholders approved the amended and

restated 2013 incentive stock program and did not approve the stockholder proposal for a policy

where the Chairman of the Board is an independent director.

         D.     The Truth Emerges

         61.    On June 25, 2021, AbbVie announced that the FDA would not complete its review

of the sNDAs regarding psoriatic arthritis and ankylosing spondylitis in June, as Defendants had

represented. Defendants revealed that the FDA had, in explaining the delay, “cited its ongoing

review of Pfizer’s post-marketing study, ORAL Surveillance.”

         62.    Several weeks later, on July 16, 2021, AbbVie announced that the FDA had also

extended its review of the sNDA regarding atopic dermatitis, again citing the ORAL Surveillance

Trial.




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       63.     Despite these developments, Defendants continued to assure investors that

Rinvoq’s safety data was strong and problems were a Xeljanz specific issue. For example, during

the Company’s quarterly earnings call on July 30, 2021, Defendant Severino represented that—

despite the FDA’s delay—“[w]e remain confident in the benefit risk profile for Rinvoq across all

indications.” Defendant Stewart also reiterated that AbbVie’s data on Rinvoq was “very

significant[ly] differentiated” from the problematic data on Xeljanz.        Moreover, Defendant

Gonzalez touted the Company’s guidance for future Rinvoq revenue, stating that the Company

projected $8 billion in Rinvoq sales in 2025.

       64.     On September 1, 2021, the FDA announced that the final results of the ORAL

Surveillance Trial showed “an increased risk of serious heart-related events such as heart attack or

stroke, cancer, blood clots, and death” even with lower doses of Xeljanz. Accordingly, the FDA

further stated that it would require “new and updated warnings” not only for Xeljanz, but also for

both Rinvoq and Olumiant. The FDA explained that, “since they share mechanisms of action with

Xeljanz, [the] FDA considers that these medicines may have similar risks as seen in the Xeljanz

safety trial.” Moreover, the FDA also revealed that it would further limit approved uses of Rinvoq,

Xeljanz, and Olumiant, permitting these drugs to be prescribed only for “certain patients who have

not responded [to] or cannot tolerate one or more TNF blockers.”

       65.     The FDA’s announcement precluded any chance of Rinvoq becoming AbbVie’s

next big drug and replacing Humira. Investors noticed. That day the Company’s market

capitalization fell over $15 billion.. The price of AbbVie common stock declined $8.51 per share,

or more than 7%, from a close of $120.78 per share on August 31, 2021, to close at $112.27 per

share on September 1, 2021.




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       66.     As analysts and industry experts noted, the FDA’s announcement affected

AbbVie’s prospects particularly strongly, given AbbVie’s reliance on Rinvoq to provide much

more substantial profits in the future. For example, Bloomberg noted that “AbbVie’s stock was

hit particularly hard [from this news] as Rinvoq is supposed to be the company’s next big drug”

after Humira loses its patent-protected monopoly. Similarly, analysts from SVB Leerink and

Bernstein warned that the FDA’s label changes—particularly the new restrictions on approved

uses—would likely reduce future Rinvoq sales by billions of dollars.

       67.     On December 3, 2021, AbbVie revealed that the FDA had updated Rinvoq’s label

in accordance with the FDA’s September 1, 2021 announcement. Specifically, AbbVie stated that

“the U.S. label for RINVOQ will now include additional information about the risks of malignancy

and thrombosis, and the addition of mortality and MACE (defined as cardiovascular death,

myocardial infarction and stroke) risks within the Boxed Warnings and Warnings and Precautions

sections.” The label would also state that Rinvoq “is indicated for the treatment of adults with

moderately to severely active rheumatoid arthritis who have had an inadequate response or

intolerance to one or more TNF blockers”—meaning that Rinvoq can be marketed only as an

alternative after other anti-inflammatory drugs have already failed.

       68.     On January 11, 2022, the Company lowered its guidance for Rinvoq, stating that

AbbVie “now expects 2025 risk-adjusted sales of greater than $7.5 billion for Rinvoq” (compared

to the Company’s prior guidance of greater than $8 billion). Accordingly, it is clear that the FDA’s

safety concerns about Rinvoq—which Defendants misleadingly downplayed during the Class

Period—will have a lasting, negative effect on a critical Company revenue source.

V.     DAMAGES TO THE COMPANY

       69.     As a direct and proximate result of the Individual Defendants’ misconduct, AbbVie

has been seriously harmed and will continue to be. Such harm includes, but is not limited to: (i)


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legal fees incurred in connection with the defense of the Securities Class Action; (ii) any funds

paid to settle or fund a judgment entered in the Securities Class Action; and (iii) costs incurred

from unjust and unwarranted compensation and benefits paid to the Individual Defendants who

have breached their duties to AbbVie.

        70.    In addition, AbbVie’s business, goodwill, and reputation with its business partners,

regulators, and shareholders have been gravely impaired. The Company still has not fully admitted

the nature of its false statements and the true condition of its business. The credibility and motives

of management are now in serious doubt.

        71.    These actions have irreparably damaged both AbbVie’s corporate image and

goodwill. For at least the foreseeable future, AbbVie will suffer from what is known as the “liar’s

discount,” a term applied to the stock of companies who have been implicated in misleading the

investing public, such that AbbVie’s ability to raise equity capital or debt on favorable terms in

the future is now and will continue to be impaired. The Company stands to incur higher marginal

costs of capital and debt because of the misconduct.

VI.     DUTIES OF THE INDIVIDUAL DEFENDANTS

        A.     Fiduciary Duties

        72.    By reason of their positions as officers and/or directors of AbbVie and because of

their responsibility to control the business and corporate affairs of the Company, the

Individual Defendants owed, and owe, the Company and its stockholders the fiduciary obligations

of good faith, loyalty, due care, and candor and were, and are, required to use their utmost ability

to control and manage the Company in a just, honest, fair, and equitable manner.

        73.    Each Individual Defendant owed, and owes, the Company and its stockholders the

fiduciary duty to exercise good faith and diligence in the administration of the affairs of the




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Company, as well as the highest obligations of fair dealing and not to act in furtherance of their

personal interest or benefit.

       74.     In Gantler v. Stephens, 965 A.2d 695, 708–09 (Del. 2009), the Delaware Supreme

Court concluded that the “officers of Delaware corporations, like directors, owe fiduciary duties

of care and loyalty, and that the fiduciary duties of officers are the same as those of directors.”

The officers of a Delaware corporation are “expected to pursue the best interests of the company

in good faith (i.e., to fulfill their duty of loyalty) and to use the amount of care that a reasonably

prudent person would use in similar circumstances (i.e., to fulfill their duty of care).” Hampshire

Grp., Ltd. v. Kuttner, C.A. No. 3607-VCS, 2010 WL 2739995, at *11 (Del. Ch. July 12, 2010).

       75.     Because of their positions of control and authority as officers and/or directors of

AbbVie, the Individual Defendants were able to, and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein. Because of their advisory, executive,

managerial, and directorial positions with AbbVie, each of the Individual Defendants had

knowledge of material, nonpublic information regarding the Company. In addition, as officers

and/or directors of a publicly held company, the Individual Defendants had a duty to promptly

disseminate accurate and truthful information regarding the Company’s business, operations, and

prospects so that the market price of the Company’s stock would be based on truthful and accurate

information.

       76.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of AbbVie and was at all times acting within the

course and scope of such agency.

       77.     To discharge their duties, the officers and directors of AbbVie were required to

exercise reasonable and prudent supervision over the management, policies, practices and controls




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of the Company. By virtue of such duties, the officers and directors of AbbVie were required to,

among other things:

               (a)     Exercise good faith to ensure that the affairs of the Company were
                       conducted in an efficient, business-like manner so as to make it possible to
                       provide the highest quality performance of their business;

               (b)     Exercise good faith to ensure that the Company was operated in a diligent,
                       honest, and prudent manner and complied with all applicable federal and
                       state laws, rules, regulations and requirements, and all contractual
                       obligations, including acting only within the scope of its legal authority;

               (c)     Maintain and implement an adequate, functioning system of internal
                       controls, such that the affairs and operations of AbbVie are conducted in
                       accordance with all applicable laws, rules, and regulations;

               (d)     When put on notice of problems with the Company’s business practices and
                       operations, exercise good faith in taking appropriate action to correct the
                       misconduct and prevent its recurrence; and

               (e)     Truthfully and accurately inform and guide investors and analysts with
                       respect to the business operations of the Company.

       78.     Additionally, as a part of their duties of care and loyalty, the Individual Defendants

had a fiduciary duty to disclose all material information whenever they voluntarily chose to speak

to AbbVie shareholders, or the market generally, about the business of the corporation. Pfeffer v.

Redstone, 965 A.2d 676, 684 (Del. 2009) (“Corporate fiduciaries can breach their duty of

disclosure under Delaware law . . . by making a materially false statement, by omitting a material

fact, or by making a partial disclosure that is materially misleading.”) (citation omitted); Malone

v. Brincat, 722 A.2d 5, 9 (Del. 1998) (“directors who knowingly disseminate false information

that results in corporate injury or damage to an individual stockholder violate their fiduciary duty,

and may be held accountable in a manner appropriate to the circumstances”); Zirn v. VLI Corp.,

681 A.2d 1050, 1056 (Del. 1996) (“[D]irectors are under a fiduciary obligation to avoid misleading

partial disclosures. The law of partial disclosure is likewise clear: ‘Once defendants travel[] down

the road of partial disclosure . . . they . . . [have] an obligation to provide the stockholders with an


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accurate, full, and fair characterization of those historic events.’”) (citation omitted); Lynch v.

Vickers Energy Corp., 383 A.2d 278, 281 (Del. 1977) (holding the defendants breached their

fiduciary duty of candor when they failed to disclose material information to minority shareholders

to whom they owed a fiduciary duty).

         79.    As the Delaware Supreme Court explained in In re Tyson Foods, Inc. Consol.

S’holder Litig., No. 1106-CC, 2007 WL 2351071, at *4 (Del. Ch. Aug. 15, 2007), “[w]hen . . .

directors communicate with shareholders, they also must do so with complete candor”:

         Loyalty. Good faith. Independence. Candor. These are words pregnant with
         obligation. The Supreme Court did not adorn them with half-hearted adjectives.
         Directors should not take a seat at the board table prepared to offer only conditional
         loyalty, tolerable good faith, reasonable disinterest or formalistic candor.

         B.     Audit Committee Duties

         80.    The charter for the Audit Committee charges members with responsibility for,

among other things, “assisting the [Board] in fulfilling its oversight responsibility with respect to:

. . . . AbbVie’s enterprise risk management, including major financial risk exposures (recognizing

that other board committees assist the Board in reviewing certain aspects of risk management).”

         81.    Specifically regarding risk management, the charter states that the Audit

Committee shall:

         Review and discuss (with management, the internal auditors and the independent
         auditors, as appropriate) AbbVie’s enterprise risk management, including major
         financial risk exposures, and the steps management has taken to monitor and control
         those exposures, including AbbVie’s risk assessment and risk management
         policies. Coordinate the oversight of risk management with other Board committees
         (recognizing that other committees also assist the Board in reviewing certain
         aspects of risk management).

VII.     DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

         82.    Plaintiff brings this action derivatively in the right and for the benefit of AbbVie to

redress injuries suffered, and to be suffered, by AbbVie as a direct result of breaches of fiduciary



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duty by the Individual Defendants, unjust enrichment, and violations of federal securities laws.

AbbVie is named as a nominal defendant solely in a derivative capacity.

        83.     Plaintiff will adequately and fairly represent the interests of AbbVie in enforcing

and prosecuting its rights.

        84.     Plaintiff has continuously been a shareholder of AbbVie at times relevant to the

wrongdoing complained of and is a current AbbVie shareholder.

        85.     AbbVie’s Board consists of twelve directors. Plaintiff did not make any demand

on the Board to institute this action because such a demand would be a futile, wasteful, and useless

act, for the reasons set forth below.

Employee – Defendant Gonzalez

        86.     At all relevant times, Gonzalez was AbbVie’s CEO, and therefore was not

independent under NYSE listing rules. As an employee and director of AbbVie, Gonzalez was

substantially involved with AbbVie’s operations and products, as detailed in the Proxy. Therefore,

he knew or should have known of the risks associated with Rinvoq and other JAK inhibitors, as

well as FDA reactions. Moreover, as CEO and as alleged herein, Gonzalez personally issued the

misleading statements alleged herein and is named as a defendant in the Securities Class Action.

As a result, Gonzalez would be interested in a demand regarding his own wrongdoing, and demand

is futile as to him.

The Audit Committee – Defendants Freyman, Burnside, Meyer, Rapp, Tilton, and Waddell

        87.     Freyman, Burnside, Meyer, Rapp, Tilton, and Waddell served as members of the

Audit Committee of AbbVie at relevant times during which the misconduct took place. As such,

they are responsible for the effectiveness of the Company’s internal controls, the integrity of its

financial statements, and its risk management. As alleged herein, defendants Freyman, Burnside,




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Meyer, Rapp, Tilton, and Waddell failed to oversee the risks impacting the Company, namely the

safety concerns with JAK inhibitors and related FDA actions, allowing the materially misleading

statements to be disseminated in AbbVie’s SEC filings and other disclosures. Thus, Freyman,

Burnside, Meyer, Rapp, Tilton, and Waddell breached their fiduciary duties and are not

disinterested, and demand is excused as to them.

Demand Is Futile as to the Director Defendants Because They Face a Substantial Likelihood
of Liability – Defendants Gonzalez, Tilton, Alpern, Austin, Burnside, Waddell, Rapp, Liddy,
Hart, Meyer, Roberts, and Freyman

       88.     Demand is futile as to the Demand Board for the additional reason that Defendants

Gonzalez, Tilton, Alpern, Austin, Burnside, Waddell, Rapp, Liddy, Hart, Meyer, Roberts, and

Freyman face a substantial likelihood of liability for breaching their fiduciary duties of loyalty and

good faith and/or care by violating Section 14(a) of the Exchange Act by negligently making

material misstatements and omitting material facts in connection with their proxy solicitations, as

described herein.

       89.     Accordingly, Defendants Gonzalez, Tilton, Alpern, Austin, Burnside, Waddell,

Rapp, Liddy, Hart, Meyer, Roberts, and Freyman all face a substantial likelihood of liability for

their breaches of fiduciary duty and violations of state and federal law, making any demand upon

them futile.

VIII. CLAIMS FOR RELIEF

                                             COUNT I

                                 Breaches of Fiduciary Duties
                              (Against the Individual Defendants)

       90.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.




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       91.     Each Individual Defendant owes and owed to the Company the duty to exercise

candor, good faith, and loyalty in the management and administration of AbbVie’s business and

affairs, particularly with respect to issues as fundamental as public disclosures.

       92.     In direct violation of these duties, defendants, and each of them, knowingly or

recklessly issued, or approved the issuance of, false public statements to shareholders that

misrepresented and/or failed to disclose material information concerning the effects of increased

competition on the Company’s business, and, as a result of the foregoing, AbbVie’s public

statements were materially false and misleading at all relevant times. Through their fraudulent

scheme, defendants artificially inflated the Company’s financials, and its stock price. These

actions could not have been a good faith exercise of prudent business judgment to protect and

promote the best interests of the Company and its shareholders.

       93.     The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company. The Individual Defendants

intentionally or recklessly breached or disregarded their fiduciary duties to protect the rights and

interests of AbbVie.

       94.     In addition, in breach of their fiduciary duties owed to AbbVie, the Individual

Defendants willfully participated in and caused the Company to unnecessarily expend unwarranted

amounts of corporate funds in connection with the unjust compensation paid to the Individual

Defendants while in breach of their fiduciary duties during the relevant period. .

       95.     As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, AbbVie has sustained and continues to sustain significant damages,

including direct monetary damages, exposure to liability in the Securities Class Action, and a loss




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of goodwill in the capital markets. As a result of the misconduct alleged herein, these defendants

are liable to the Company.

                                            COUNT II

               Violations of Section 14(a) of the Securities Exchange Act of 1934
                               (Against the Director Defendants)

        96.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

        97.     Rule 14a-9, promulgated pursuant to §14(a) of the Securities Exchange Act of

1934, provides that no proxy statement shall contain “any statement which, at the time and in light

of the circumstances under which it is made, is false or misleading with respect to any material

fact, or which omits to state any material fact necessary in order to make the statements therein

not false or misleading.” 17 C.F.R. §240.14a-9. Specifically, the Company’s Proxy violated

§14(a) and Rule 14a-9 because solicited stockholder approval for the Business Combination while

failing to disclose material facts about AbbVie’s business.

        98.     In the exercise of reasonable care, the Director Defendants should have known that

the statements contained in the Proxy were materially false and misleading.

        99.     The misrepresentations and omissions in the Proxy were material to Company

shareholders in voting on the Proxy. The Proxy solicited shareholder votes for, among other

things,: (i) the election of Defendants Burnside, Freyman, Hart, and Rapp as directors; (ii) an

advisory vote on executive compensation; (iii) rejection of an independent chair of the Board; (iv)

rejection of a stockholder proposal on limiting termination pay; and (v) rejection of the stockholder

proposal on reporting on Board oversight of competition practices. The Proxy was an essential

link in the accomplishment of the continuation of the Director Defendants’ continued violation of

their fiduciary duties.



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       100.    The Company was damaged as a result of the Director Defendants' material

misrepresentations and omissions in the Proxy Statement.

                                           COUNT III

                 For Contribution and Indemnification Under Delaware Law
                            (Against the Individual Defendants)

       101.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       102.    This claim is brought derivatively on behalf of the Company for contribution and

indemnification against the Individual Defendants.

       103.    AbbVie is named as a defendant in the Securities Class Action. If AbbVie is

ultimately found liable for violating federal securities laws, the Company’s liability will arise, in

whole or in part, from the intentional, knowing, or reckless acts or omissions of some or all of the

Individual Defendants as alleged herein.

       104.    Accordingly, AbbVie is entitled to all appropriate contribution and/or

indemnification from the Individual Defendants, who are responsible for exposing AbbVie to

liability under Delaware contribution and indemnification law.

       105.    Plaintiff, on behalf of AbbVie, has no adequate remedy at law.

                                            COUNT IV

                                    For Unjust Enrichment
                              (Against the Individual Defendants)

       106.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       107.    By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of AbbVie. The Individual Defendants were




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unjustly enriched as a result of the compensation and officer and director remuneration they

received while breaching their fiduciary duties.

        108.   Plaintiff, as a stockholder and representative of AbbVie, seeks restitution from

these defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits,

and other compensation obtained by these defendants, and each of them, from their wrongful

conduct and fiduciary breaches.

        109.   Plaintiff, on behalf of AbbVie, has no adequate remedy at law.

IX.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of AbbVie, demands judgment as follows:

        A.     Finding that a stockholder demand on the Board would have been a futile and

useless act and Plaintiff may maintain this action on behalf of AbbVie and that Plaintiff is an

adequate representative of the Company;

        B.     Finding that the Individual Defendants violated the federal securities laws,

breached their fiduciary duties to the Company, and were unjustly enriched;

        C.     Finding against all of the Individual Defendants and in favor of the Company for

the amount of damages sustained by the Company as a result of the Individual Defendants’

breaches of fiduciary duties, violations of federal securities laws, and unjust enrichment;

        D.     Directing AbbVie to take all necessary actions to reform and improve its corporate

governance and internal procedures to comply with applicable laws and to protect AbbVie and its

stockholders from a repeat of the damaging events described herein, including, but not limited to,

putting forward for stockholder vote, resolutions for amendments to the Company’s Bylaws or

Articles of Incorporation and taking such other action as may be necessary to place before

stockholders for a vote of the following corporate governance policies:




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               1.     a proposal to appropriately test, and then strengthen, the Company’s internal

       operational control functions and the Board’s supervision of operations and compliance

       with applicable state and federal laws and regulations;

               2.     a proposal to develop and implement procedures for greater stockholder

       input into the policies and guidelines of the Board;

               3.     a proposal to appropriately test, and then strengthen, the Company’s

       disclosure controls to ensure that all material information is adequately and timely

       disclosed to the SEC and public;

               4.     a provision to permit the stockholders of AbbVie to nominate at least three

       new candidates for election to the Board; and

               5.     a provision creating an Independent Chair of the Board.

       E.      Finding against each of the Individual Defendants in favor of AbbVie for the

amount of damages sustained by AbbVie, jointly and severally, in an amount to be determined at

trial, together with pre- and post-judgment interest at the maximum legal rate allowable by law;

       F.      Awarding to AbbVie restitution from the Individual Defendants, and each of them,

and ordering disgorgement of all profits, benefits, and other compensation obtained by these

defendants;

       G.      Directing the Individual Defendants to establish, maintain, and fully fund effective

corporate governance and compliance programs to ensure that AbbVie’s directors, officers, and

employees do not engage in wrongful or illegal practices;

       H.      Granting appropriate equitable and/or injunctive relief to remedy the Individual

Defendants’ misconduct, as permitted by law;




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       I.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

       J.      Granting such other and further relief as the Court deems just and proper.


X.     JURY TRIAL DEMANDED

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.

Dated: July 1, 2022                                  /s/ Michael K. Forde
                                                     FORDE & O’MEARA LLP
                                                     191 North Wacker Drive, 31st Floor
                                                     Chicago, IL 60606
                                                     Telephone: (312) 641-1441
                                                     Facsimile: (312) 465-4801
                                                     mforde@fordellp.com

                                                     Local Counsel for Plaintiff

                                                     JOHNSON FISTEL, LLP
                                                     Michael I. Fistel, Jr.
                                                     Mary Ellen Conner
                                                     40 Powder Springs Street
                                                     Marietta, GA 30064
                                                     Telephone: (470) 632-6000
                                                     Facsimile: (770) 200-3101
                                                     MichaelF@johnsonfistel.com
                                                     MaryEllenC@johnsonfistel.com

                                                     JOHNSON FISTEL, LLP
                                                     Frank J. Johnson
                                                     501 West Broadway, Suite 800
                                                     San Diego, CA 92101
                                                     Telephone: (619) 230-0063
                                                     Facsimile: (619) 255-1856
                                                     FrankJ@johnsonfistel.com

                                                     Attorneys for Plaintiff




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                                                       VERIFICATION

                    I,    Joanne Katcher            , herby verify that I am familiar with the allegations in the

            foregoing Verified Stockholder Derivative Complaint, and that I have authorized the filing of the

            Verified Stockholder Derivative Complaint, and that the foregoing is true and correct to the best

            of my knowledge, information, and belief.

            Dated: 6/29/2022
                                                                      Plaintiff
